                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE

   Ultima Services Corporation

                  Plaintiff,
                                                                      Case No. 2:20-CV-00041
   U.S. Department of Agriculture, et al.
                  Defendant.


                           MOTION FOR ADMISSION PRO HAC VICE

          The undersigned, counsel for tribal amici

   moves for admission to appear in this action pro hoc vice.

          Pursuant to E.D. Tenn. L.R. 83.5(b)(1)(C). FILING FEE = $90.00

                  I am a member in good standing of the highest court of the following state,
                  territory or the District of Columbia (list ALL states):
                   District of Columbia, California
                  ANDIam a member in good standing of another U.S. District Court. A
                  certificate of good standing from the DISTRICT court is attached. ).

                                                     OR
           Pursuant to E.D. Tenn. L.R. 83.5(b)(1)(C). NO FILING FEE REQUIRED.

                  An application for my admission to practice in this Court is currently pending.



          I declare under penalty of perjury that the foregoing is true and correct.
          Date: 10/2/23                         X         /                 #



                                            (Signature-hand signed)
   Name: Leonard R. Powell
   Firm: Jenner & Block, LLP
   Address:
             1099 New York Ave. NW, Suite 900, Washington, DC 20001


   Email address. |eonarc|pQWe||@jenner com

                 Once your motion is granted, you must register as an E-Filer with this Court. For
                                      instructions visit the Court's website.


Case 2:20-cv-00041-DCLC-CRW                 Document 98           Filed 10/02/23          Page 1 of 1   PageID
                                                #: 3454
